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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

 JANSSEN BIOTECH, INC.,                     )
                                            )
                           Plaintiff,       )
                                            )
 v.                                              C.A. No. 22-1549-MN
                                            )
                                            )
 AMGEN INC.,
                                            )
                           Defendant.       )
                                            )
            STIPULATION AND [PROPOSED] ORDER REGARDING
                 AMENDED COMPLAINT AND RESPONSE

       WHEREAS, Plaintiff Janssen Biotech, Inc. (“Plaintiff”) filed its Complaint

for Patent Infringement against Defendant Amgen Inc. (“Defendant”) on November

29, 2022 (“Complaint,” D.I. 1);

       WHEREAS, by stipulation and order, the deadline for Defendant to move,

answer or otherwise respond to Plaintiff’s Complaint (D.I. 1) is January 23, 2023

(D.I. 8);

       WHEREAS, Plaintiff intends to file an amended complaint;

       WHEREAS, the parties have conferred and agreed, subject to the Court’s

approval, on a schedule for Plaintiff to file its amended complaint and for Defendant

to respond to the amended complaint. The parties have also agreed, subject to the

Court’s approval, that Defendant need not respond to the Complaint pending the

filing of Plaintiff’s amended complaint.
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      NOW THEREFORE IT IS HEREBY STIPULATED AND AGREED, by and

between Plaintiff and Defendant, through their undersigned counsel and subject to

the approval of the Court, that: (i) Plaintiff shall file its amended complaint on or

before February 20, 2023; (ii) Plaintiff may file its amended complaint under seal;

provided however, that the parties shall coordinate to file a redacted, public version

within seven (7) days of the sealed filing; (iii) Defendant shall move, answer or

otherwise respond to the amended complaint within 60 days of its filing; and (iv)

Defendant need not respond to the Complaint pending Plaintiff’s filing of an

amended complaint. Neither party shall use the grant of these extensions as a basis

to support any claim, defense or position in this action. Moreover, Plaintiff may file

a motion for a preliminary injunction prior to Defendant moving, answering or

otherwise responding to the amended complaint, and neither side will use these

extensions as a reason not to participate in any preliminary injunction proceedings

or discovery that would otherwise be appropriate.




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Biotech, Inc.                         Attorneys for Defendant Amgen Inc.

Dated: January 23, 2023



IT IS SO ORDERED this              day of                 , 2023.


                                    UNITED STATES DISTRICT JUDGE




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